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                             United States District Court
                              Middle District of Florida
                                Jacksonville Division

EILEEN TRACI RACE ET AL.,

             Plaintiffs,

V.                                                          NO. 3:18-CV-153-J-39PDB

BRADFORD COUNTY, FLORIDA, BOARD OF
COUNTY COMMISSIONERS ET AL.,

             Defendants.


                                        Order
      Before the Court is a motion to excuse three defendants from personally
participating in the mediation scheduled to occur by Zoom: Richard Walmsley, Karen
Starr, and Shirley Ford. Doc. 86. They are insured by the Florida Sheriff’s Risk
Management Fund, and a lawyer will attend the mediation with full authority to
settle. Doc. 86 at 1. The plaintiffs have no opposition. Doc. 86 at 2.

      The Court conducted a telephone conference with the parties. Counsel for the
defendants explained the mediator has no objection and detailed the hardships.

      Based on counsel’s representations during the conference, the Court granted
the motion, Doc. 86. Mr. Walmsley, Ms. Starr, and Ms. Ford are excused from
attending the mediation. Defense counsel agreed he will use best efforts to ensure his
clients are available by telephone during the mediation.

      Ordered in Jacksonville, Florida, on September 25, 2020.
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c:    Counsel of record




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